      Case 1:07-cv-11693-GAO        Document 31       Filed 01/15/08    Page 1 of 3



                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

___________________________________________
                                           )
PEDRO LOPEZ; ABEL CANO;                    )
KEVIN SLEDGE; CHARLES DEJESUS;             )
RICHARD BROOKS; ROBERT ALVAREZ,            )
MARISOL NOBREGA; SPENCER TATUM; THE        )
MASSACHUSETTS HISPANIC LAW                 )
ENFORCEMENT ASSOCIATION; INDIVIDUALLY      )
AND ON BEHALF OF A CLASS OF INDIVIDUALS    )
SIMILARLY SITUATED,                        )
           Plaintiffs                      )
                                           )
v.                                         )
                                           ) Case No. 07-CA-11693-JLT
CITY OF LAWRENCE, MASSACHUSETTS;           )
CITY OF METHUEN, MASSACHUSETTS;            )
COMMONWEALTH OF MASSACHUSETTS;             )
PAUL DIETL, IN HIS CAPACITY AS PERSONNEL )
ADMINISTRATOR FOR THE COMMONWEALTH         )
OF MASSACHUSETTS, HUMAN RESOURCES          )
DIVISION; JOHN MICHAEL SULLIVAN, IN HIS    )
CAPACITY AS MAYOR OF THE CITY OF           )
LAWRENCE, MASSACHUSETTS;                   )
WILLIAM MANZI, III, IN HIS CAPACITY AS     )
MAYOR OF CITY OF METHUEN,                  )
MASSACHUSETTS; CITY OF LOWELL,             )
MASSACHUSETTS; WILLIAM F. MARTIN, IN HIS   )
CAPACITY AS MAYOR OF THE CITY OF LOWELL, )
MASSACHUSETTS; CITY OF WORCESTER,          )
MASSACHUSETTS; and KONSTANTINA B. LUKES, )
IN HIS CAPACITY AS MAYOR OF THE CITY OF    )
WORCESTER, MASSACHUSETTS,                  )
            Defendants                     )
___________________________________________)


                       MOTION FOR CLASS CERTIFICATION


      Plaintiffs, by their attorneys, hereby move this Honorable Court to certify this

action to proceed as a class action pursuant to Federal Rule of Civil Procedure 23(b)(2).




                                            1
       Case 1:07-cv-11693-GAO         Document 31       Filed 01/15/08    Page 2 of 3



       In support of this motion plaintiffs assert that (1) the class of persons sought to

be certified is so numerous that joinder of all members is impracticable. Further, this

case involves common questions of law and fact which are equally applicable to all of

the named and class plaintiffs in this case and the claims of the class members are not

in conflict with one another. The common questions of law and fact all relate to whether

or not the police sergeant’s examinations administered by the Commonwealth of

Massachusetts are in violation of federal or state discrimination law. The common

questions of law or fact predominate over any individual factual questions which would

exist in any particular case.

       In addition, the claims of the named plaintiffs are typical of the claims of the class

plaintiffs, making them appropriate as named plaintiffs. Further, the named plaintiffs will

adequately represent the interests of the unnamed plaintiffs in that the legal claims of

each are nearly identical. Moreover, plaintiffs’ counsel will pursue this action vigorously

and is fully competent to present the claims of the named and class plaintiffs in a

competent, efficient manner.

       Finally, this action is properly certifiable under Rule 23(b)(2) of the Federal Rules

of Civil Procedure because the defendants have “acted or refused to act in a manner

generally applicable to the class, thereby making appropriate final injunctive relief or

corresponding declaratory relief with respect to the class as a whole.” While plaintiffs

seek damages in the form of back pay, such back pay claims are ancillary to the

injunctive and declaratory relief sought by the plaintiffs.

       Accordingly, plaintiffs pray this Honorable Court to certify this action to proceed

as a class action as more fully described in plaintiffs’ First Amended Complaint and in




                                              2
          Case 1:07-cv-11693-GAO                      Document 31        Filed 01/15/08   Page 3 of 3



Plaintiffs’ Memorandum of Law in Support of Motion for Class Certification filed

herewith.




                                                             Respectfully submitted,

                                                             ABEL CANO, PEDRO LOPEZ,
                                                             KEVIN SLEDGE, CHARLES DEJESUS,
                                                             RICHARD BROOKS, ROBERT ALVAREZ,
                                                             MARISOL NOBREGA, SPENCER TATUM,
                                                             THE MASSACHUSETTS HISPANIC LAW
                                                             ENFORCEMENT ASSOCIATION,
                                                             INDIVIDUALLY AND ON BEHALF OF A
                                                             CLASS OF INDIVIDUALS SIMILARLY
                                                             SITUATED,

                                                             By their attorneys,




Dated: January 15, 2008                                      s/Harold L. Lichten___
                                                             Harold L. Lichten, BBO #549689
                                                             Shannon Liss-Riordan, BBO #640716
                                                             Leah M. Barrault, BBO # 661626
                                                             Pyle, Rome, Lichten, Ehrenberg
                                                                    & Liss-Riordan, P.C.
                                                             18 Tremont St., Ste. 500
                                                             Boston, MA 02108
                                                             (617) 367-7200




Cindy/legal/Harold/Promotional Exam/motion for class certification




                                                                 3
